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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    POUYA ESGHAI,

                                        Plaintiff,                        24 Civ. 2993 (PAE)
                         -v-
                                                                                 ORDER
    U.S. DEPARTMENT OF STATE, et al.,

                                        Defendants.


PAUL A. ENGELMAYER, District Judge:

         On July 12, 2024, defendants filed a motion to dismiss the complaint under Rule 12 of

the Federal Rules of Civil Procedure. Dkt. 15. Under Rule 15(a)(1)(B), a plaintiff has 21 days

after the service of a motion under Rule 12(b) to amend the complaint once as a matter of course.

         Accordingly, it is hereby ORDERED that plaintiff shall file any amended complaint by

August 2, 2024. No further opportunities to amend will ordinarily be granted. If plaintiff does

amend, by August 23, 2024, defendants shall: (1) file an answer; (2) file a new motion to

dismiss; or (3) submit a letter to the Court, copying plaintiff, stating that defendants rely on the

previously filed motion to dismiss.1

         It is further ORDERED that if no amended complaint is filed, plaintiff shall serve any

opposition to the motion to dismiss by August 2, 2024. A reply from defendants shall be served

by August 16, 2024. At the time any reply is served, the moving party shall supply the Court

with a courtesy copy of all motion papers by attaching them as PDF files to a single email

addressed to EngelmayerNYSDChambers@nysd.uscourts.gov.



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  If defendants file a new motion to dismiss or rely on their previous motion, an opposition from
plaintiff will be due 14 days thereafter, and a reply from defendants will be due seven days after
that.
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      SO ORDERED.

                                             PaJA.�
                                         __________________________________
                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: July 12, 2024
       New York, New York




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